                                                                                                                 FILED
        Case 3:15-cv-03919-D Document 1-4 Filed 12/09/15                Page 1 of 24 PageID 8        DALLAS COUNTY
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1 CT-CERT-MAIL                                                                                          FELICIA PITRE
                                                                                                     DISTRICT CLERK


                                                   DC-15-13633                                 Freeney Anita
                                     CAUSE NO.

  JAMES MCCLINTON,                                             IN THE DISTRICT COURT OF

           Plaintiff,

  vs.                                                          DALLAS COUNTY, TEXAS

  STATE FARM LLOYDS,
                                                            J-191ST
           Defendant.                                                    JUDICIAL DISTRICT


                               PLAINTIFF'S ORIGINAL PETITION

  TO THE HONORABLE JUDGE OF SAID COURT:

           James McClinton ("Mr. McClinton"), Plaintiff herein, files this Original Petition against

  Defendant State Farm Lloyds ("State Farm") and, in support of his causes of action, would

  respectfully show the Court the following:

                                                   I.

                                           THE PARTIES

           1.      James McClinton is a Texas resident who resides in Dallas County, Texas.

           2.      State Farm is an insurance company doing business in the State of Texas which

  may be served through its registered agent for service of process in the State of Texas,
                                                                  th
  Corporation Service Company, via certified mail at 211 East 7 Street, Suite 620, Austin, Texas
  78701.

                                                II.
                                            DISCOVERY

           3.      This case is intended to be governed by Discovery Level 2.
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                                                 III.
                                      C L A I M FOR R E L I E F


        4.      The damages sought are within the jurisdictional limits of this court. Plaintiff

currently seeks monetary relief over $100,000, but not more than $200,000, including damages

of any kind, penalties, costs, expenses, pre-judgment interest, and attorney's fees.

                                                 IV.

                                 JURISDICTION AND VENUE

        5.      This court has subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.

No diversity of citizenship exists in this matter.

        6.     Venue is proper in Dallas County because all or a substantial part of the events or

omissions giving rise to the claim occurred in Dallas County. TEX. C r v . PRAC & REM CODE §

15.002(a)(1). In particular, the loss at issue occurred in Dallas County.

                                                     V.

                                   FACTUAL BACKGROUND

        7.     Mr. McClinton is a named insured under a property insurance policy issued by

State Farm.

        8.      On or about May 6, 2015 a storm hit the Garland, Texas area, damaging Mr.

McClinton's house and other property. Mr. McClinton subsequently filed a claim on his

insurance policy.

        9.     Defendant improperly denied and/or underpaid the claim.

        10.    The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property, prepared a report that failed to include all of the damages that were

observed during the inspection, and undervalued the damages observed during the inspection.

        11.    This unreasonable investigation led to the underpayment of Plaintiff s claim.
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         12.   Moreover, State Farm performed an outcome-oriented investigation of Plaintiffs

claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiffs losses on the

property.

                                               VI.

                                     CAUSES OF ACTION

         13.   Each of the foregoing paragraphs is incorporated by reference in the following:

A.       Breach of Contract

         14.   State Farm had a contract of insurance with Plaintiff. State Farm breached the

terms of that contract by wrongfully denying and/or underpaying the claim and Plaintiff was

damaged thereby.

B.       Prompt Payment of Claims Statute

         15.   The failure of State Farm to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Section 542.051 et seq. of

the Texas Insurance Code.

         16.   Plaintiff, therefore, in addition to Plaintiffs claim for damages, is entitled to 18%

interest and attorneys' fees as set forth in Section 542.060 of the Texas Insurance Code.

C.      Bad Faith/Deceptive Trade Practices Act ("DTPA")

         17.   Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

         18.   Defendant violated Section 541.051 of the Texas Insurance Code by:

               (1)    making statements misrepresenting the terms and/or benefits of the policy.

         19.   Defendant violated Section 541.060 by:

               (1)    misrepresenting to Plaintiff a material fact or policy provision relating to

                      coverage at issue;




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              (2)    failing to attempt in good faith to effectuate a prompt, fair, and equitable

                     settlement of a claim with respect to which the insurer's liability had

                     become reasonably clear;

              (3)    failing to promptly provide to Plaintiff a reasonable explanation of the

                     basis in the policy, in relation to the facts or applicable law, for the

                     insurer's denial of a claim or offer of a compromise settlement of a claim;

              (4)    failing within a reasonable time to affirm or deny coverage of a claim to

                     Plaintiff or submit a reservation of rights to Plaintiff; and

              (5)    refusing to pay the claim without conducting a reasonable investigation

                     with respect to the claim;

       20.    Defendant violated Section 541.061 by:

              (1)    making an untrue statement of material fact;

              (2)    failing to state a material fact necessary to make other statements made not

                     misleading considering the circumstances under which the statements

                     were made;

              (3)    making a statement in a manner that would mislead a reasonably prudent

                     person to a false conclusion of a material fact;

              (4)    making a material misstatement of law; and

              (5)    failing to disclose a matter required by law to be disclosed.

       21.    At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.

       22.    Defendant has violated the Texas DTPA in the following respects:




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                (1)    Defendant represented that the agreement confers or involves rights,

                       remedies, or obligations which it does not have, or involve, or which are

                       prohibited by law;

                (2)    State Farm failed to disclose information concerning goods or services

                       which was known at the time of the transaction when such failure to

                       disclose such information was intended to induce the consumer into a

                       transaction that the consumer would not have entered into had the

                       information been disclosed;

                (3)    State Farm, by accepting insurance premiums but refusing without a

                       reasonable basis to pay benefits due and owing, engaged in an

                       unconscionable action or course of action as prohibited by Section

                       17.50(a)(l)(3) of the DTPA in that State Farm took advantage of

                       Plaintiffs lack of knowledge, ability, experience, and capacity to a grossly

                       unfair degree, that also resulted in a gross disparity between the

                       consideration paid in the transaction and the value received, in violation of

                       Chapter 541 of the Texas Insurance Code.

          23.   Defendant knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code

Section 541.152(a)-(b).

D.        Attorneys' Fees

          24.   Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys' fees and expenses through trial and any

appeal.




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       25.     Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to Texas

Civil Practice and Remedies Code Sections 38.001-38.003 because he is represented by an

attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed
                                th
before the expiration of the 30 day after the claim was presented.

       26.     Plaintiff further prays that he be awarded all reasonable attorneys' fees incurred in

prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 and

542.060 of the Texas Insurance Code.

                                                VII.

                                     CONDITIONS PRECEDENT

       27.     All conditions precedent to Plaintiffs right to recover have been fully performed,

or have been waived by Defendant.

                                               VIII.

                                     DISCOVERY REQUESTS

       28.     Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after

service of this request, the information or material described in Rule 194.2(a)-(l).

       29.      You are also requested to respond to the attached interrogatories, requests for

production, and requests for admissions within fifty (50) days, in accordance with the

instructions stated therein.
                                               IX.
                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, James McClinton prays that, upon final

hearing of the case, he recover all damages from and against Defendant that may reasonably be

established by a preponderance of the evidence, and that Mr. McClinton be awarded attorneys'

fees through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and




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such other and further relief, general or special, at law or in equity, to which Mr. McClinton may

show himself to be justly entitled.


                                            Respectfully submitted,

                                            DALY & BLACK, P.C.

                                            By:     /s/ William X. King
                                                    William X. King
                                                    TBA No. 24072496
                                                    wking@dalyblack.com
                                                    Ana M . Ene
                                                    TBA No. 24076368
                                                    aene@dalyblack. com
                                                    Richard D. Daly
                                                    TBA No. 00796429
                                                    rdaly@dalyblack.com
                                                    John Scott Black
                                                    TBA No. 24012292
                                                    jblack@dalyblack.com
                                                    2211 Norfolk St., Suite 800
                                                    Houston, Texas 77098
                                                    713.655.1405—Telephone
                                                    713.655.1587—Fax

                                                    ATTORNEYS FOR PLAINTIFF
                                                    JAMES MCCLINTON




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                   PLAINTIFF'S FIRST SET O F INTERROGATORIES,
          REQUESTS F O R PRODUCTION AND R E Q U E S T SF O R ADMISSIONS

         COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant (1) answer the following discovery requests separately and fully in writing under oath

within 30 days of service (or within 50 days of service i f the discovery was served prior to the

date an answer is due); (2) produce responsive documents to the undersigned counsel within the

same time period; and (3) serve its answers to these discovery requests within the same time

period to Plaintiff by and through his attorneys of record: Richard D. Daly, John Black, Ana M .

Ene and William X. King, Daly & Black, P.C, 2211 Norfolk St, Suite 800, Houston, Texas

77098.

                                            DALY & BLACK, P . C .

                                            By:     /s/ William X. King
                                                    William X. King
                                                    TBA No. 24072496
                                                    wking@dalyblack.com
                                                    Ana M. Ene
                                                    TBA No. 24076368
                                                    aene@dalyblack.com
                                                    Richard D. Daly
                                                    TBA No. 00796429
                                                    rdaly@dalyblack. com
                                                    John Scott Black
                                                    TBA No. 24012292
                                                    jblack@dalyblack.com
                                                    2211 Norfolk St., Suite 800
                                                    Houston, Texas 77098
                                                    713.655.1405—Telephone
                                                    713.655.1587—Fax

                                                    ATTORNEYS FOR PLAINTIFF
                                                    JAMES MCCLINTON




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                                C E R T I F I C A T E OF S E R V I C E

       I hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it
when it was served with the citation.

                                                       /s/ William X. King
                                                        William X. King




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                                    INSTRUCTIONS


 A.    These Responses call for your personal and present knowledge, as well as the present
       knowledge of your attorneys, investigators and other agents, and for information
       available to you and to them.

 B.    Pursuant to the applicable rules of civil procedure, produce all documents responsive
       to these Requests for Production as they are kept in the usual course of business or
       organized and labeled to correspond to the categories in the requests within the time
       period set forth above at Daly & Black, P.C.

 C.    I f you claim that any document or information which is required to be identified or
       produced by you in any response is privileged, produce a privilege log according to
       the applicable rules of civil procedure.

       1.   Identify the document's title and general subject matter;
       2.   State its date;
       3.   Identify all persons who participated in its preparation;
       4.   Identify the persons for whom it was prepared or to whom it was sent;
       5.   State the nature of the privilege claimed; and
       6.   State in detail each and every fact upon which you base your claim for privilege.

 D.    I f you claim that any part or portion of a document contains privileged information,
       redact only the part(s) or portion(s) of the document you claim to be privileged.

 E.    I f you cannot answer a particular Interrogatory in full after exercising due diligence to
       secure the information to do so, please state so and answer to the extent possible,
       specifying and explaining your inability to answer the remainder and stating whatever
       information or knowledge you have concerning the unanswered portion.

 F.    You are also advised that you are under a duty to seasonably amend your responses i f
       you obtain information on the basis of which:

       1. You know the response made was incorrect or incomplete when made; or
       2. You know the response, though correct and complete when made, is no longer
          true and complete, and the circumstances




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                                     DEFINITIONS

 A.    "Defendant," "You," "Your(s)," refers to State Farm Lloyds, its agents,
       representatives, employees and any other entity or person acting on its behalf.

 B.    "Plaintiff refers to the named Plaintiff in the above-captioned suit.

 C.    "The Property(ies)" refers to the property or properties located at the address(es)
       covered by the Policy.

 D.    "The Policy" refers to the policy issued to Plaintiff by the insurer and at issue in this
       lawsuit.

 E.    "The Claim(s)" means the claim for insurance benefits submitted by Plaintiff and at
       issue in this lawsuit, or in a prior claim, as the context may dictate.

 F.    "Date of Loss" refers to the date(s) of loss identified in Plaintiffs live
       petition/complaint or other written or oral notice, or otherwise assigned to the claim
       by the insurer.

 G.    "Handle" or "Handled" means investigating, adjusting, supervising, estimating,
       managing, settling, approving, supplying information or otherwise performing a task
       or work with respect to the claim(s) at issue in this lawsuit, excluding purely
       ministerial or clerical tasks.

 H.    "Lawsuit" refers to the above styled and captioned case.

 I.    "Communication" or "communications" shall mean and refer to the transmission or
       exchange of information, either orally or in writing, and includes without limitation
       any conversation, letter, handwritten notes, memorandum, inter or intraoffice
       correspondence, electronic mail, text messages, or any other electronic transmission,
       telephone call, telegraph, telex telecopy, facsimile, cable, conference, tape recording,
       video recording, digital recording, discussion, or face-to-face communication.

 J.    The term "Document" shall mean all tangible things and data, however stored, as set
       forth in the applicable rules of civil procedure, including, but not limited to all
       original writings of any nature whatsoever, all prior drafts, all identical copies, all
       nonidentical copies, correspondence, notes, letters, memoranda of. telephone
       conversations, telephone messages or call slips, interoffice memoranda, intraoffice
       memoranda, client conference reports, files, agreements, contracts, evaluations,
       analyses, records, photographs sketches, slides, tape recordings, microfiche,
       communications, printouts, reports, invoices, receipts, vouchers, profit and loss
       statements, accounting ledgers, loan documents, liens, books of accounting, books of
       operation, bank statements, cancelled checks, leases, bills of sale, maps, prints,
       insurance policies, appraisals, listing agreements, real estate closing documents,
       studies, summaries, minutes, notes, agendas, bulletins, schedules, diaries, calendars,



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         logs, announcements, instructions, charts, manuals, brochures, schedules, price lists,
         telegrams, teletypes, photographic matter, sound reproductions, however recorded,
         whether still on tape or transcribed to writing, computer tapes, diskettes, disks, all
         other methods or means of storing data, and any other documents. In all cases where
         originals, prior drafts, identical copies, or nonidentical copies are not available;
         "document" also means genuine, true and correct photo or other copies of originals,
         prior drafts, identical copies, or nonidentical copies. "Document" also refers to any
         other material, including without limitation, any tape, computer program or electronic
         data storage facility in or on which any data or information has been written or
         printed or has been temporarily or permanently recorded by mechanical,
         photographic, magnetic, electronic or other means, and including any materials in or
         on which data or information has been recorded in a manner which renders in
         unintelligible without machine processing.

 K.      The term "referring" or "relating" shall mean showing, disclosing, averting to,
         comprising, evidencing, constituting or reviewing.

 L.      The singular and masculine form of any noun or pronoun includes the plural, the
         feminine, and the neuter.

 M.      The terms "identification," "identify," and "identity" when used in reference to:

      1. Natural Persons: Means to state his or her full name, residential address, present or
         last known business address and telephone number, and present or last known
         position and business affiliation with you;
      2. Corporate Entities: Means to state its full name and any other names under which it
         does business, its form or organization, its state of incorporation, its present or last
         known address, and the identity of the officers or other persons who own, operate, or
         control the entity;
      3. Documents: Means you must state the number of pages and nature of the document
         (e.g. letter or memorandum), its title, its date, the name or names of its authors and
         recipients, its present location and custodian, and i f any such document was, but no
         longer is, in your possession or control, state what disposition was made of it, the date
         thereof, and the persons responsible for making the decision as to such disposition;
      4. Communication: Requires you, i f any part of the communication was written, to
         identify the document or documents which refer to or evidence the communication
         and, to the extent that the communication was non-written, to identify each person
         participating in the communication and to state the date, manner, place, and substance
         of the communication; and
      5. Activity: Requires you to provide a description of each action, occurrence,
         transaction or conduct, the date it occurred, the location at which it occurred, and the
         identity of all persons involved.

 N.      The term "Claim File" means the claim files and "field file(s)," whether kept in
         paper or electronic format, including but not limited to all documents, file jackets, file
         notes, claims diary or journal entries, log notes, handwritten notes, records of oral



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          communications, communications, correspondence, photographs, diagrams,
          estimates, reports, recommendations, invoices, memoranda and drafts of documents
          regarding the Claim.

   O.     The term "Underwriting File" means the entire file, including all documents and
          information used for underwriting purposes even i f you did not rely on such
          documents or information in order to make a decision regarding insuring Plaintiffs
          Property.



                           NOTICE OF AUTHENTICATION

       You are advised that pursuant to Tex. R. Civ. P. 193.7, Plaintiff intends to use all
documents exchanged and produced between the parties, including but not limited to
correspondence and discovery responses during the trial of the above-entitled and numbered
cause.




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                 INTERROGATORIES TO DEFENDANT STATE FARM

INTERROGATORY NO. 1:

Identify all persons answering or supplying any information in answering these interrogatories.

       ANSWER:

INTERROGATORY NO. 2:
Identify all persons who were involved in evaluating Plaintiffs claim and provide the following
information for each person you identify:
        a.      their name and job title(s) as of the Date of Loss;
        b.      their employer; and

       c.      description of their involvement with Plaintiffs Claim.

        ANSWER:
INTERROGATORY NO. 3:
If you contend that the some or all of the damages to the Property were not covered losses under
the Policy, describe:

       a.      the scope, cause and origin of the damages you contend are not covered losses
               under the Policy; and
       b.      the term(s) or exclusion(s) of the Policy you relied upon in support of your
               decision regarding the Claim.

       ANSWER:

INTERROGATORY NO. 4:
State whether the initial estimate you issued was revised or reconciled, and i f so, state what was
changed and who did it.

       ANSWER:

INTERROGATORY NO. 5:
If you contend that Plaintiff did not provide you with requested information that was required to
properly evaluate Plaintiffs Claim, identify the information that was requested and not provided,
and the dates you made those request(s).

       ANSWER:

INTERROGATORY NO. 6:
If you contend that Plaintiffs acts or omissions voided, nullified, waived or breached the Policy
in any way, state the factual basis for your contention(s).

       ANSWER:


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INTERROGATORY NO. 7:
If you contend that Plaintiff failed to satisfy a condition precedent or covenant of the Policy in
any way, state the factual basis for your contention(s).

        ANSWER:

INTERROGATORY NO. 8:

Identify the date you first anticipated litigation.

        ANSWER:

INTERROGATORY NO. 9:

State the factual basis for each of your affirmative defenses.

        ANSWER:

INTERROGATORY NO. 10:
If you contend that Plaintiff failed to provide proper notice of the claim made the basis of this
lawsuit, describe how the notice was deficient, and identify any resulting prejudice.
       ANSWER:
INTERROGATORY NO. 11:
If you contend that Plaintiff failed to mitigate damages, describe how Plaintiff failed to do so,
and identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO. 12:
Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
depreciation, stating for each item the criteria used and the age of the item.

        ANSWER:




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            REQUEST FOR PRODUCTION TO DEFENDANT STATE FARM

REQUEST FOR PRODUCTION NO. 1
Produce a certified copy of all Policies you issued to Plaintiff for the Property that were in effect
on the Date of Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 2
If you contend that any prior claims Plaintiff submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce a certified copy of all policies you issued to
Plaintiff for the Property that were in effect during the handling of those claim(s).

       RESPONSE:

REQUEST FOR PRODUCTION NO. 3
Produce a copy of the declarations pages you issued for the Property in the three (3) years
preceding the Date of Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 4

Produce your complete Underwriting File for Plaintiffs policy of insurance with you.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 5
Produce the complete Claim File including all documents and communications regarding the
Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 6
Produce the Claim Files regarding the Claim of any third-party you hired and/or retained to
investigate, consult on, handle and/or adjust the Claim.
        RESPONSE:




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REQUEST F O R PRODUCTION NO. 7
If you contend that any prior claims Plaintiff submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce the complete Claim File regarding those prior
claim (s).

       RESPONSE:

REQUEST FOR PRODUCTION NO. 8
Produce all documents Plaintiff (or any other person) provided to you related to the Claim or the
Property.

       RESPONSE:

REQUEST F O R PRODUCTION NO. 9
Produce all documents you provided to Plaintiff (or any other person) related to the Claim or the
Property.

       RESPONSE:

REQUEST F O R PRODUCTION NO. 10
Produce all documents (including reports, surveys, appraisals, damage estimates, proof of loss,
or adjuster's report(s)) referring to the Claim, the Property or damage to the Property.

       RESPONSE:

REQUEST F O R PRODUCTION NO. 11
Produce color copies of all visual reproductions of the Property taken either prior to, at the time
of, or after the Date of Loss (including diagrams, drawings, photographs, video records,
videotapes, or other information).

       RESPONSE:

REQUEST F O R PRODUCTION NO. 12

The file from the office of Plaintiffs insurance agent concerning Plaintiffs Property.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 13
Produce all communications between any of your claims personnel, claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the investigation,
handling, and settlement of Plaintiff s Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 14
Produce all written communications you sent to, or received from, any independent adjusters,
engineers, contractors, estimators, consultants or other third-parties who participated in
investigating, handling, consulting on, and/or adjusting Plaintiffs Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 15
Produce all written and/or electronic communications you sent to, or received from, Plaintiffs
insurance agent related to the Claim, the Property, the Plaintiff or this Lawsuit.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 16
Produce all written and/or electronic communications you sent to, or received from, any local,
state, or governmental entity related to the Claim, the Property, the Plaintiff or this Lawsuit.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 17
Produce all written and/or electronic communications you sent to, or received, from Plaintiff
and/or any other named insured on the Policy related to the Claim, the Property, or this Lawsuit.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 18
Produce the personnel file for anyone you (or an adjusting firm) assigned to participate in
evaluating damage to Plaintiffs Property, including performance reviews/evaluations. This
request is limited to the three (3) years prior to the Date of Loss and one (1) year after the Date
of Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 19
Produce your claim handling manual(s) (including operating guidelines) in effect on the Date of
Loss related to your claims practices, procedures and standards for property losses and/or wind
and hail storm claims, for persons handling claims on your behalf.

       RESPONSE:



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REQUEST FOR PRODUCTION NO. 20
Produce your property claims training manual and materials in effect on the Date of Loss, for
persons handling, investigating and adjusting claims.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 21
Produce all bulletins, notices, directives, memoranda, internal newsletters, publications, letters
and alerts directed to all persons acting on your behalf that were issued from six (6) months
before and after the Date of Loss related to the handling of wind or hail storm claims in
connection with the storm at issue.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 22
Produce the contract(s), agreement(s) and/or written understanding(s) with any independent
adjusters or adjusting firms who you retained to investigate, handle and/or adjust Plaintiffs
Claim on your behalf that were in effect on the Date of Loss.

       RESPONSE:

R E Q U E S T FOR PRODUCTION NO. 23
Produce the contract(s), agreement(s) and/or written understanding(s) with any engineers and/or
engineering firms you retained to investigate, handle and/or adjust Plaintiffs Claim on your
behalf that were in effect at the time of his/her investigation, handling and/or adjustment of
Plaintiffs claim, either pre or post-lawsuit.

       RESPONSE:

R E Q U E S T FOR PRODUCTION NO. 24
Produce the "Pay sheet," "Payment Log," or list of payments made on Plaintiffs Claim,
including all indemnity, claim expenses and payments made to third-parties.

       RESPONSE:

R E Q U E S T FOR PRODUCTION NO. 25
Produce all billing statements, including billing detail, showing the amounts you paid or for
which you were billed by any independent adjusters or adjusting firms who inspected Plaintiffs
Property in connection with the Claim.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 26
Produce all billing detail showing the amounts you paid or for which you were billed by any
engineer and/or engineering firm who inspected Plaintiffs Property in connection with the
Claim, whether pre or post-lawsuit.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 27
Produce all estimates, reports or memoranda, including drafts of the same, created for you or by
any independent adjusters or adjusting firms in connection with the Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 28
Produce all estimates, reports, or memoranda, including drafts of the same, created for you by
any engineers and/or engineering firms in connection with the Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 29
Produce all statements given by anyone, oral or written, to you or any of your agents, related to
Plaintiffs Claim and/or any issue in Plaintiffs live petition

       RESPONSE:

REQUEST FOR PRODUCTION NO. 30
Pursuant to the applicable rules of evidence, produce all documents evidencing conviction of a
crime which you intend to use as evidence to impeach any party or witness.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 31
Produce all documents you identified, referred to, or relied upon in answering Plaintiffs
interrogatories.

        RESPONSE:

REQUEST F O R PRODUCTION NO. 32
Produce all non-privileged documents you identified, referred to, or relied upon in developing,
answering and/or formulating your Answer and/or Affirmative Defenses to Plaintiffs live
petition.

        RESPONSE:

REQUEST F O R PRODUCTION NO. 33

Produce copies of all documents you intend to offer as evidence at the trial of this matter.

        RESPONSE:

REQUEST F O R PRODUCTION NO. 34
Produce copies of all documents relating to your declaration of the storm alleged to have caused
damage to Plaintiffs Property as a "catastrophe."
      RESPONSE:

REQUEST F O R PRODUCTION NO. 35
Produce copies of your engagement letter/fee agreement between you (or whatever entity or
person is paying your attorney's fee bills) and your attorneys in this matter.

        RESPONSE:

REQUEST FOR PRODUCTION NO. 36
                                      1
Produce copies of your attorney's [s ] fee bills in this matter.

        RESPONSE:

REQUEST F O R PRODUCTION NO. 37
If this claim involves reinsurance, produce copies of the policy or agreement pertaining to that
reinsurance.
         RESPONSE:

REQUEST F O R PRODUCTION NO. 38
If an attorney was involved in evaluating payment or coverage of Plaintiff s Claim pre-suit,
provide all documents relating to that evaluation or recommendation.

       RESPONSE:



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             REQUEST FOR ADMISSIONS TO DEFENDANT STATE FARM

REQUEST FOR ADMISSION NO. 1:

Admit that on Date of Loss the Property sustained damages caused by a windstorm.

       RESPONSE:

REQUEST FOR ADMISSION NO. 2:

Admit that on Date of Loss the Property sustained damages caused by a hailstorm

       RESPONSE:

R E Q U E S T FOR ADMISSION NO. 3:
Admit that as of the Date of Loss the Policy was in full force and effect.

       RESPONSE:

R E Q U E S T FOR ADMISSION NO. 4:

Admit that as of the Date of Loss all premiums were fully satisfied under the Policy.

        RESPONSE:
R E Q U E S T FOR ADMISSION NO. 5:

Admit that the Policy is a replacement cost value policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 6:

Admit that the Policy is an actual cash value policy.

       RESPONSE:

R E Q U E S T FOR ADMISSION NO. 7:
Admit that aside from the Claim at issue, Plaintiff has never previously submitted a claim to
for damage to the Property.
        RESPONSE:




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REQUEST FOR ADMISSION NO. 8:
Admit that you did not request a Sworn Proof of Loss from Plaintiff in connection with the
Claim at issue.

       RESPONSE:

REQUEST FOR ADMISSION NO. 9:
Admit that you did not request a Sworn Proof of Loss from any other named insured on the
Policy in connection with the Claim at issue.

       RESPONSE:

REQUEST FOR ADMISSION NO. 10:

Admit that Plaintiff timely submitted the Claim.

       RESPONSE:

REQUEST TOR ADMISSION NO. 11:
Admit that your decision to deny or partially deny Plaintiffs Claim was made in whole or in part
on the basis that third parties were responsible for causing damages to the Property.
        RESPONSE:

REQUEST FOR ADMISSION NO. 12:
Admit that Defendant's decision to deny or partially deny Plaintiffs Claim was made in whole
or in part on the basis that the claimed damages are not covered by the Policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 13:
Admit that Defendant's decision to deny or partially deny Plaintiffs Claim was made in whole
or in part on the timeliness of the Claim's submission.

       RESPONSE:




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REQUEST FOR ADMISSION NO. 14:
Admit that you depreciated the costs of labor when detennining the actual cash value of the
Claim at issue.

       RESPONSE:

R E Q U E S T FOR ADMISSION NO. 15:
Admit that the adjuster assigned to investigate the Claim did not review the underwriting file at
any time during the adjustment of the Claim.

       RESPONSE:

R E Q U E S T FOR ADMISSION NO. 16:
Admit that the Claim was reviewed by persons other than people who actually inspected the
Property.

       RESPONSE:

R E Q U E S T FOR ADMISSION NO. 17:
Admit that you reinsured the risk under Plaintiffs Policy.

       RESPONSE:




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